Case 1:20-cr-00330-AJN Document 382-5 Filed 10/29/21 Page 1 of 16




                    EXHIBIT E
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 2 of 16
                                                       Docket 05/17/2010  Page 1 of 15




                          COMPOSITE EXHIBIT A

                NON-PROSECUTION AGREEMENT AND
                          ADDENDUM
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 3 of 16
                                                       Docket 05/17/2010  Page 2 of 15




        INRE:
        INVESTIGATION OF
        ____________,,
        JEFFREY EPSTEIN


                                NON-PROSECUTION AGREEMENT
               IT APPEARING that the City of Palm Beach Police Department and the State
        Attorney's Office for the 15th Judicial Circuit in and for Palm Beach County (hereinafter,
        the "State Attorney's Office") have conducted an investigation into the conduct of Jeffrey
        Epstein (hereinafter "Epstein");

               IT APPEARJNG that the State Attorney's Office has charged Epstein by indictment
        with solicitation of prostitution, in violation of Florida Statutes Section 796.07;

               IT APPEARJNG that the United States Attorney's Office and the Federal Bureau of
        Investigation have conducted their own investigation into Epstein's background and any
        offenses that may have been committed by Epstein against the United States from in or
        around 2001 t.lirough in or around September 2007, including:

               (I)   knowingly and willfully conspiring with others known and unknown to
                     commit an offense against the United States, that is, to use a facility or means
                     of interstate or foreign commerce to knowingly persuade, induce, or entice
                     minor females to engage in prostitution, in violation of Title 18, United States
                     Code, Section 2422(b); all in violation ofTitle 18, United States Code, Section
                     371;

               (2)    knowingly and willfully conspiring with others known and unknown to travel
                      in interstate commerce for the purpose of engaging in illicit sexual conduct, as
                      defined in 18 U.S.C. § 2423(!), with minor females, in violation of Title 18,
                      United States Code, Section 2423(b); all in violation of Title 18, United States
                      Code, Section 2423(e);

               (3)    using a facility or meari_B of interstate or foreign commerce to knowingly
                      persuade, induce, or entice minor females to engage in prostitution; in
                      violation of Title 18, United States Code, Sections 2422(b) and 2;

               (4)    traveling in interstate commerce for the purpose of engaging in illicit sexual
                      conduct, as defined in 18 U.S.C. § 2423(!), with minor females; in violation

                                                 Page I of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 4 of 16
                                                       Docket 05/17/2010  Page 3 of 15




                       of Title 18, United States Code, Section 2423(b); and

               (5)     knowingly, in and affecting interstate and foreign commerce, recruiting,
                       enticing. and obtaining by any means a person, knowing that the person had
                       not attained the age of 18 years and would be caused to engage in a
                       commercial sex act as defined in l 8 U.S.C. § 159l(c)(l); in violation of Title
                       18, United States Code, Sections I59J(a)(l) and 2; and

                IT APPEARING that Epstein seeks to resolve globally his state and federal criminal
        liability and Epstein understands and acknowledges that, in exchange for the benefits
        provided by this agreement, he agrees to comply with its terms, including undertaking certain
        actions with the State Attorney's Office;

               IT APPEARING, after an investigation of the offenses and Epstein's background by
        both State and Federal law enforcement agencies, and after due consultation with the State
        Attorney's Office, that the interests of the United States, the State of Florida, and the
        Defendant will be served by the following procedure;

               TIIBREFOR.R, on the authority ofR. Alexander Acosta, United States Attorney for
        the Southern District of Florida, prosecution in this District for these offenses shall be
        deferred in favor of prosecution by the State of Florida, provided that Epstein abides by the
        following conditions and the requirements of this Agreement set forth below.

               If the United States Attorney should determine, based on reliable evidence, that,
        during the period of the Agreement, Epstein willfully violated any of the conditions of this
        Agreement, then the United States Attorney may, within ninety (90) days following the
        expiration of the term of home confinement discussed below, provide Epstein with timely
        notice specifying the condition(s) of the Agreement that he has violated, and shall initiate its
        prosecution on any offense within sixty (60) days' of giving notice of the violation. Any
        notice provided to Epstein pursuant to this paragraph shall be provided within 60 days of the
        United States learning of facts which may provide a basis for a determination of a breach of
        the Agreement.

                  After timely fulfilling all the terms and conditions of the Agreement, no prosecution
        for t.'ie offenses set out on pages 1 and 2 of this Agreement, nor any other offenses that have
        ~-n t.1-ie subject of t.'te joint investigation by t'le Federal Bureau of 11:vestigation and the
        United States Attorney's Office, nor any offenses that arose from the Federal Grand Jury
        investigation will be instituted in this District, and the charges against Epstein if any, will be
        dismissed.



                                                   Page 2 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 5 of 16
                                                       Docket 05/17/2010  Page 4 of 15




             Terms of the Agreement:

                   I.    Epstein shall plead guilty (not nolo contendere) to the Indictment as
                         currently pending against him in the 15th Judicial Circuit in and for
                         Palm Beach County (Case No. 2006-cf-009495AXXXMB) charging
                         one ( 1) count of solicitation of prostitution, in violation of Fl. Stat §
                         796.07. In addition, Epstein shall plead guilty to an Information filed
                         by the State Attorney's Office charging Epstein with an offense that
                         requires him to register as a sex offender, that is, the solicitation of
                         minors to engage in prostitution, in violation ofFlorida Statutes Section
                         796.03;

                   2.    Epstein shall make a binding recommendation that the Court impose a
                         thirty (30) month sentence to be divided as follows:

                         (a)    Epstein shall be sentenced to consecutive tenns of twelve (12)
                                months and six (6) months in county jail for all charges, without
                                any opportunity for withholding adjudication or sentencing, and
                                without probation or community control in lieu of
                                imprisonment; and

                         (b)    Epstein shall be sentenced to a term of twelve (12) months of
                                community control consecutive to his two terms in county jail
                                as described in Term 2(a), supra.
                   3.    Th.is agreement is contingent upon a Judge of the 15th Judicial Circuit
                         accepting and executing the sentence agreed upon between the State
                         Attorney's Office and Epstein, the details of which are set forth in this
                         agreement.

                   4.    The terms contained in paragraphs l and 2, supra, do not foreclose
                         Epstein and the State Attorney's Office from agreeing to recommend
                         any additional charge(s) or any additional term(s) of probation and/or
                         incarceration.

                   5.    Epstein shall waive all challenges to the Infonnation filed by the State
                         Attorney's Office and shall waive the right to appeal his conviction and
                         sentence, except a sentence that exceeds what is set forth in paragraph
                         (2), supra.

                   6.    Epstein shall provide to the U.S. Attorney's Office copies ofall

                                             Page 3 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 6 of 16
                                                       Docket 05/17/2010  Page 5 of 15




                        proposed agreements with the State Attorney's Office prior to entering
                        into those agreements.

                  7.    The United States shall provide Epstein's attorneys with a list of
                        individuals whom it has identified as victims, as defined in 1g U.S.C.
                        § 2255, after Epstein has signed this agreement and been sentenced.
                        Upon the execution of this agreement, the United States, in consultation
                        with and subject to the good faith approval of Epstein's counsel, shall
                        select an attorney representative for these persons, who shall be paid for
                        by Epstein. Epstein's counsel may contact the identified individuals
                        through that representative.

                  8.    If any of the individuals referred to in paragraph (7), supra, elects to
                        file suit pursuant to 18 U.S.C. § 2255, Epstein will not contest the
                        jurisdiction of the United States Disttict Court for the Southern Disttict
                        of Florida over his person and/or the subject matter, and Epstein waives
                        his right to contest liability and also waives his right to contest damages
                        up to an amount as agreed to between the identified individual and
                        Epstein, so Jong as the identified individual elects to proceed
                        exclusively under 18 U.S.C. § 2255, and agrees to waive any other
                        claim for damages, whether pursuant to state, federal, or common law.
                        Notwithstanding this waiver, as to those individuals whose names
                        appear on the list provided by the United States, Epstein's signature on
                        this agreement, his waivers and failures to contest liability and such
                        damages in any suit are not to be construed as an admission of any
                        criminal or civil liability.

                  9.    Epstein's signature on this agreement also is not to be construed as an
                        admission of civil or criminal liability or a waiver of any jurisdictional
                        or other defense as to any person whose name does not appear on the
                        list provided by the United States.

                  10.   Except as to those individuals who elect to proceed exclusively under
                        18 U.S.C. § 2255, as set forth in paragraph (8), supra, neither Epstein's
                        signature on this agreement, nor its terms, nor any resulting waivers or
                        settlements by Epstein are to be construed as admissions or evidence of
                        civil or criminal liability or a waiver of any jurisdictional or other
                        defense as to any person, whether or not her name appears on the list
                        provided by the United States.

                  11.   Epstein shall use his best efforts to enter his guilty plea and be

                                            Page 4 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 7 of 16
                                                       Docket 05/17/2010  Page 6 of 15




                             sentenced not later than October 26, 2007. The United States has no
                             objection to Epstein self-reporting to begin serving his sentence not
                             later than January 4, 2008.

                      12.     Epstein agrees that he will not be afforded any benefits with respect to
                              gain time, other than the rights, opportunities, and benefits as any other
                              inmate, including but not limited to, eligibility for gain time credit
                              based on standard rules and regulations that apply in the State of
                              Florida. At the United States' request, Epstein agrees to provide an
                              accounting of the gain time he earned during his period of
                              incarceration.

                      13,     The parties anticipate that this agreement will not be made part of any
                              public record. If the United States receives a Freedom ofinforrnation
                              Act request or any compulsory process commanding the disclosure of
                              the agreement, it will provide notice to Epstein before making that
                              disclosure.

                 Epstein understands that the United States Attorney has no authority to require the
        State Attorney's Office to abide by any tenns of this agreement Epstein understands that
        it is his obligation to undertake discussions with the State Attorney's Office and to use his
        best efforts to ensure compliance with these procedures, which compliance will be necessary
        to satisfy the United States' interest Epstein also understands that it is his obligation to use
        his best efforts to convince the Judge of the 15th Judicial Circuit to accept Epstein's binding
        recommendation regarding the sentence to be imposed, and understands that the failure to
        do so will be a breach of the agreement.

                In consideration of Epstein's agreement to plead guilty and to provide compensation
        in the manner described above, ifEpstein successfully fulfills all of the terms and conditions
        of this agreement, the United States also agrees that it will not institute any criminal charges
        against any potential co-conspirators of Epstein, including but not limited to Sarah Kellen,
        Adriana Ross, Lesley Groff, or Nadia Marcinkova. Further, upon execution of this
        agreement and a plea agreement with the State Attorney's Office, the federal Grand Jury
        investigation will be suspended, and all pending federal Grand Jury subpoenas will be held
        in abeyance unless and until the defendant violates any t = of this agreement. The
        defendant likewise agrees to withdraw his pending motion to intervene and to quash certain
        grand jury subpoenas. Both parties agree to maintain their evidence, specifically evidence
        requested by or directly related to the grand jury subpoenas that have been issued, and
        including certain computer equipment, inviolate until all of the terms of this agreement have
        been satisfied. Upon the successful completion of the terms of this agreement, all
        outstanding grand jury subpoenas shall be deemed withdrawn.

                                                  Page5 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 8 of 16
                                                       Docket 05/17/2010  Page 7 of 15




                By signing this agreement, Epstein asserts and certifies that each of these terms is
       material to this agreement and is supported by independent consideration and that a breach
       of a.'ly one of these conditions allows the United States to elect to terminate the agreement
       and to investigate and prosecute Epstein and any other individual or entity for any and all
       federal offenses.

              By signing this agreement, Epstein asserts and certifies that he is aware of the fact that
       the Sixth Amendment to the Constitution of the United States provides that in all criminal
       prosecutions the accused shall enjoy the right to a speedy and public trial. Epstein further
       is aware that Rule 48(b) of the Federal Rules of Criminal Procedure provides that the Court
       may dismiss an indictment, information, or complaint for unnecessary delay in presenting
       a charge to the Grand Jury, filing an information, or in bringing a defendant to trial. Epstein
       hereby requests that the United States Attorney for the Southern District ofFlorida defer such
       prosecution. Epstein agrees and consents that any delay from the date of this Agreement to
       the date of initiation of prosecution, as provided for in the terms expressed herein, shall be
       deemed to be a necessary delay at his own request, and he hereby waives any defense to such
       prosecution on the ground that such delay operated to deny him rights under Rule 48(b) of
       the Federal Rules of Criminal Procedure and the Six1h Amendment to the Constitution of the
       United States to a speedy trial or to bar the prosecution by reason of the running of the statute
       of iimiiations for a period of months equal to the period between the signing of this
       agreement and the breach of this agreement as to those offenses that were the subject of the
       grand jury's investigation. Epstein further asserts and certifies that he understands that the
       Fifth Amendment and Rule 7(a) of the Federal Rules of Criminal Procedure provide that all
       felonies must be charged in an indictment presented to a grand jury. Epstein hereby agrees
       and consents that, if a prosecution against him is instituted for any offense that was the
       subject of the grand jury's investigation, it may be by way of an Information signed and filed
       by the United States Attorney, and hereby waives his right to be indicted by a grand jury as
       to any such offense.

       Ill

       I II

       Ill




                                                 Page 6 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 9 of 16
                                                       Docket 05/17/2010  Page 8 of 15




               By signing tbis agreement, Epstein asserts and certifies that the above has been read
         and explained to him. Epstein hereby states that he understands the conditions of this Non-
         Prosecution Agreement and agrees to comply with them.

                                                          R. ALEXANDER ACOSTA
                                                          UNITED STATES ATI'ORNEY


         Dated: _ _ __                             By:
                                                          A. MARIE VlLLAFANA
                                                          ASSISTANT U.S. ATI'ORNEY


         Dated:.1"-



         Dated: _ _ _--'
                                                          GERALD LEFCOURT, ESQ.
                                                          COUNSEL TO IBFFREY EPSTEIN


         Dated: _ _ __
                                                          LILLY ANN SA..'N'CHEZ, ESQ.
                                                          ATI'ORNEY FOR JEFFREY EPSTEIN




                                                 Page 7 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG          Document
                         Document        382-5
                                  1-3 Entered on Filed
                                                 FLSD10/29/21   Page 10 of Page
                                                       Docket 05/17/2010   16 9 of 15




              By signing this agreement, Epstein asserts and certifies that the above has been read
        and explained tn him. Epstein hereby states that he understands the conditions of this Non•
        Prosecution Agreement and agrees to comply with them.

                                                         R. ALEXANDER ACOSTA
                                                         UN1TEDSTATESATTORNEY


         Dated: - - - - -                         By:
                                                         A MARIE VILLAFANA
                                                         ASSISTANT U.S. ATTORNEY


         Dated: _ _ __




         Dated: _ _ __
                                                         L~LY ANN SANCHEZ, ESQ.
                                                         AITORNEY !'OR JEFFREY EPSTE!N




                                                Page 7 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 11 ofPage
                                                       Docket 05/17/2010   16 10 of 15




                By signing this agreement, Epstein asserts and certifies that the above has been read
          and explained to him. Epstein hereby states that he understands the couditioas ofthill Non-
          Prosecution Agreement and agrees to comply with thorn.

                                                           R. ALEXANDER ACOSTA
                                                           UNITED STATES ATTORNEY

          Dated: _ _ __                             By:
                                                           A. MARIE VILLAFANA
                                                           ASSISTANT U.S. ATIORNEY


          Dated: - - - -
                                                           JEFFREY EPSTEIN

          Dated: _ _ __
                                                          GERALD LEFCOURT, ESQ.
                                                          COUNSEL TO JEFFREY EPSTEIN



                                                                            ESQ.
                                                          ATTORNEY FOR JEFFREY EPSTEIN




                                                 Page 7 of 7
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 12 ofPage
                                                       Docket 05/17/2010   16 11 of 15




         INRE:
         INVESTIGATION OF


         _________
         JEFFREY EPSTEIN
                                          _,(,

         ADDENDUM TO THE NON-PROSECUfION AGREEMENT
                 IT APPEARING that the parties seek to clarify certain provisions of page 4, paragraph 7
         of the Non-Prosecution Agreement (hereinafter "paragraph 7"), that agreement is modified as
         follows:
         7A.     The United States has the right to assign to an independent third-party the responsibility
                 for consulting with and, subject to the good faith approval of Epstein's counsel, selecting
                 the attorney representative for the individuals identified under the Agreement. If the
                 United States elects to assign this responsibility to an independent third-party, both the
                 United States and Epstein retain the right to make good fuith objeciions to the attorney
                 representative suggested by the independent lhird-party prior to lhe final designation of
                 the attorney representative.
         7B.     The parties will jointly prepare a short written submission to the independent third-party
                 regarding the role ofthe attorney representative and regarding Epstein's Agreement to
                 pay such attorney representative his or her regular customary hourly rate for representing
                 such victims subject to the provisions of paragraph C, infra.

         7C.     Pursuant to additional paragraph 7A, Epstein has agreed to pay the fees of the attorney
                 representative selected by the independent third party. This provision, however, shall not
                 obligate Epstein to pay the fees and costs of contested litigation filed against him. Thus,
                 if after consideration of potential settlements, an attorney representative elects to file a
                 contested lawsuit pursuantto 18 U.S.C. s 2255 or elects to pursue any other contested
                 remedy, the paragraph 7 obligation of the Agreement to pay the costs oftbe attorney
                 representative, as opposed to any statutory or other obligations to pay reasonable
                 attorneys fees and costs such as those contained in s 2255 to bear the costs of the attorney
                 representative, shall cease.
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 13 ofPage
                                                       Docket 05/17/2010   16 12 of 15




                 By signing ibis Addendum, Epstein asserts and certifies that the above has been read and
          explained to h1m. Epstein herebi states that he understands the clarifications to the Non·
          Prosecution·M!"tetnentand a~s !O comply with them.


                                                            R. ALEXA.NO\nl ACOSTA
                                                            UNtraI> STATES ATl'OltNEY




          Dated: _ _ __
                                                            GERALD LEFCOURT, ESQ.
                                                            COUNSEL TO JEFFREY EPSTE1N


          Dated: - - - ' ~ - -
                                                            LILLY ANN SANCHEZ, ESQ.
                                                            A'ITORNEY FOR JEFFREY EPSTEIN
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 14 ofPage
                                                       Docket 05/17/2010   16 13 of 15




                By signing this Addendum, Epstein asserts and certifies that the above has been read and
         explained to him. Epstein hereby states that he understands the clarifications to the Non-
         Prosecution Agreement and agrees to comply with them.


                                                            R. ALEXANDER ACOSTA
                                                            UNITED STATES ATTORNEY


                                                     By:        ""f~ ,,___ ;-11vsA
                                                           'ttf·i
                                                        ii  A. MAR1E   LAPAAA
                                                            ASSISTANT U.S. ATTORNEY


         Dated: _ _ __
                                                            JEFFREY EPSTEIN




         Dated: _ _ __
                                                            LILLY ANNSANCHEZ,ESQ.
                                                            ATTORNEY FOR JEFFREY EPSTEIN
1--·--·-·-··· - - -· · --·· --·-· -· · · · · . ------··- · -· · · · . . · -- ·-
          Case 1:20-cr-00330-AJN
 Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                   1-3 Entered    Filed 10/29/21
                                               on FLSD           Page 15 ofPage
                                                        Docket 05/17/2010   16 14 of 15




                      By signing this Addendum, Epstein asserts and certifies that the above has been read and
               explained to him. Epstein hereby stales that he unders1ands the clarifications to the Non-
               Prosecution Agreement and agroos to comply with them.


                                                                 R. ALEXANDER ACOSTA
                                                                 UNITED STATES ATTORNEY


                                                          By:      ~f/_~~4-- r/1()(/,4
                                                             1' A. MARIE    LAFMi'A
                                                                 ASSISTANT U.S. ATTORNEY


               Dated: _ _ __
                                                                 JEFFREY EPSTEJN .


               Dated: _ _ __
                                                                 GERALD LEFCOURT, ESQ.
                                                                 COUNSEL TO JEFFREY EPSTEIN



                                                        ~D-      ATI'ORNBY FOR JEFFREY EPSTEIN
         Case 1:20-cr-00330-AJN
Case 1:10-cv-21586-ASG   DocumentDocument 382-5
                                  1-3 Entered    Filed 10/29/21
                                              on FLSD           Page 16 ofPage
                                                       Docket 05/17/2010   16 15 of 15

                                                                       aommo1                    T-R66    P.D03/0D4   F-il6
DwD!-Dl   D4:55pm   frc,rfcwlar-Whlte B•rn1tt




                   r,  Jetm,y B. Epstein dn her¢b)' r..-l!ffimi lh,: NQlH'.ros,;oi.ti,:,n AJ:re=!t andMdo:odum 10
               ·= da"'4  Clc1llbor :,o, 2007,




                                                           nw,'
